       Case 1:24-cv-00816-BAH         Document 42       Filed 03/17/25     Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DEFENSE OF FREEDOM INSTITUTE
 FOR POLICY STUDIES, INC.,

               Plaintiff,
                                                   Civil Action No. 24-0816 (BAH)
                     v.

 U.S. DEPARTMENT OF EDUCATION,

               Defendant.


                                 JOINT STATUS REPORT

       Pursuant to the Court’s January 13, 2025, Minute Order, the Parties conferred and

respectfully submit the following status on this Freedom of Information Act (“FOIA”) case:

       1.     Plaintiff submitted two FOIA requests to Defendant U.S. Department of Education

(“the Department”) on March 28, 2022, seeking “records relating to the Department’s award of

grants to and cooperative agreements with ‘Equity Assistance Centers’” (FOIA request number

22-02360-F) and focusing on the Department’s Office of Elementary and Secondary Education

(FOIA request number 22-02358-F). ECF No. 1 at 14, 32.

       2.     The Department provided its first interim response to FOIA request number 22-

02358-F on October 17, 2022, its second interim response on May 31, 2024, its third interim

response on June 28, 2024, its fourth interim response on July 31, 2024, and its fifth interim

response on August 30, 2024, its sixth interim response on September 30, 2024, and its seventh

interim response on December 19, 2024.

       3.     Since the last joint status report, the Department provided one interim response

consisting of documents responsive to FOIA request 22-02360-F on January 31, 2025.
        Case 1:24-cv-00816-BAH          Document 42        Filed 03/17/25      Page 2 of 5




        4.      As previously reported, in verifying that all records responsive to FOIA request 22-

02358-F had been produced, the Department discovered that it had misunderstood Plaintiff’s

previous narrowing of its request. Because of that misunderstanding, the Department still needs to

produce documents responsive to certain elements of Plaintiff’s FOIA request 22-02358-F.

        5.      On December 20, 2024, the Department provided Plaintiff with proposed search

terms for the remaining two elements of request 22-02358-F. Plaintiff responded on January 29,

2025, with objections to the Department’s proposal and suggestions for completing the search.

        6.      The Department responded on February 26, 2025, advising Plaintiff that it

considered Plaintiff’s response and would undertake a search consistent with its requirement under

FOIA. The Department advised Plaintiff that if, after receiving the documents, it was not satisfied

and wanted to challenge the search then the parties can brief the matter, but the Department is

confident that the search is reasonable and can be supported in a declaration and brief.

        7.      The Department started the search on February 26, 2025, and will produce

documents as soon as feasibly possible once its search is complete.

Plaintiff’s Position:

        8.      On December 20, 2024, the Department agreed to provide a Vaughn index for all

records produced and for all redactions when production is complete. Plaintiff continues to request

that the Department provide a Vaughn index for all records produced thus far no later than April

18, 2025. An agency which seeks to withhold records under FOIA is required to justify these

actions. See 5 U.S.C. § 552(a)(4)(B). A Vaughn index is appropriate when an agency, like the

Department, must meet their burden to show that the withholdings are appropriate and may do so

“by providing a Vaughn index which must adequately describe each withheld document, state

which exemption the agency claims for each withheld document, and explain the exemption’s
       Case 1:24-cv-00816-BAH            Document 42        Filed 03/17/25      Page 3 of 5




relevance.“ Johnson v. Exec. Office for U.S. Att’ys, 310 F.3d 771, 774 (D.C. Cir. 2002); see also

Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973).

       9.      Plaintiff continues to seek an expanded scope of records that were requested and

which have still not been produced, such as texts, Teams Meeting chats, LinkedIn Messages,

messages sent via X (previously known as Twitter) and other types of messages which are subject

to FOIA requests, but have not been produced in the previous tranches for both request 22-02358-

F and 22-02360-F. Department officials are required to document and upload all relevant

messaging such as text messages and social media, on its servers. Oglesby v. Dep’t of Army, 920

F. 2d 57, 58 (D.C. Cir. 1990) requires an agency to show it made a good faith effort using methods

that are “reasonably expected to produce information” and clarifies that an “agency cannot limit

its search to only one record system if there are others that are likely to turn up the information

requested.” Id. at 68. As stated in Shteynlyuger v. Ctrs. for Medicine & Medicaid Servs., 698

F.Supp.3d 82, 109 (D.D.C. 2023) “an agency may be obligated to search a particular employee’s

text messages in response to a FOIA request.” Id. All that is necessary is that it must be “reasonably

likely” that an official used a certain type of communication that might contain the referenced

documents. Id. There are two criteria for whether a material is an agency record. “First, an agency

must either create of obtain the requested material. . . . Second, the agency must be in control of

the requested materials at the time the FOIA request is made.” Cause of Action Inst. v. N.O.A.A.,

No. 19-1927 (TSC), 2023 U.S. Dist. LEXIS 91060, at *9-10, (D. D. C., May 24, 2023). The

Department routinely requires its employees to catalog and record social media, text messages,

and other personal messages that its employees, including Secretaries, receive. It was doing so

during the relevant time period. Therefore, the Department should search these types of mediums

for responsive records.
       Case 1:24-cv-00816-BAH           Document 42          Filed 03/17/25    Page 4 of 5




Defendant’s Position:

       10.     The Department’s stance is that providing piecemeal Vaughn indices, as Plaintiff

seeks in paragraph 8, is inefficient, burdensome, and not required by any statute. Plaintiffs are not

automatically entitled to a Vaughn index, and indeed the Agency could opt not to create one at all

if it felt it could better satisfy its burden via declarations. That said, the Department has agreed,

multiple times, to produce a Vaughn index once production in this case is complete. Plaintiff

complains of waiting for documents in this case, yet at the same times asks the Department to shift

its resources to create piecemeal Vaughn indices. The Department will provide Plaintiff with a

Vaughn index when production is complete.

       11.     In response to paragraph 9, as the Department has now explained to Plaintiff

upwards of four times, Department officials do not ordinarily conduct official business dealing

with the subject of the records Plaintiff seeks via social media and text message. Accordingly, it

is not reasonably likely that such a search would turn up responsive records. The Department looks

forward to shouldering its burden regarding this topic during summary judgment briefing with

supporting declarations.

                                          *      *       *

       12.     The parties respectfully request that they be ordered to file a further Joint Status

Report on or before May 16, 2025, and every sixty days thereafter, until the production of

documents is complete, at which point the parties will file a Joint Status Report with a proposal

for further proceedings if necessary.
       Case 1:24-cv-00816-BAH   Document 42     Filed 03/17/25     Page 5 of 5




Dated: March 17, 2025               Respectfully submitted,

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